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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                 Plaintiff,           Cr. No. 14-cr-20446
v.
                                                      Hon. Robert H. Cleland
KHALIL HADDAD,

                                 Defendant.
                                                  /

                  APPLICATION FOR TRAVEL EXPENSES

      On July 30, 2014, Khalil Haddad was charged with Government Program

Fraud. See Indictment, R. 1, Pg ID 1-2. On September 4, 2014, Haddad was

found to be indigent and the court appointed the Federal Defender Office pursuant

to the Criminal Justice Act. See Appointment Order, R. 10, Pg ID 18. Mr.

Haddad resides in Buda, Texas. On Monday, December 19th, 2014, Mr. Haddad

will need to be in Court here in the Eastern District of Michigan for a 3:30 p.m.

hearing. Counsel would also like to consult with the defendant for at least one

hour prior to the hearing. As a result, the defendant respectfully requests that this

Honorable Court order the U.S. Marshal to furnish him with non-custodial

transportation to and from Buda, Texas to Detroit, Michigan (round-trip) for

purposes of appearing in Court on Friday, December 19th.
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                                              Respectfully submitted,



                                              s/Todd Shanker
                                              Counsel for Khalil Haddad
                                              613 Abbott, 5th floor
                                              Detroit, MI 48226
                                              (313) 967-5879
December 9, 2014                              email: todd_shanker@fd.org
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                                Plaintiff,          Cr. No. 14-cr-20446
v.
                                                    Hon. Robert H. Cleland
KHALIL HADDAD,

                                Defendant.
                                                /

                      ORDER FOR TRAVEL EXPENSES

      Upon the application of Defendant, Khalil Haddad, for Travel Expenses,

pursuant to 18 U.S.C. § 4285, and the Court being apprised of Defendant's

indigence;

      IT IS HEREBY ORDERED that the U.S. Marshal furnish Defendant

Khalil Haddad with non-custodial transportation to and from Buda, Texas to

Detroit, Michigan (round trip) for purposes of appearing in Court on the afternoon

of Friday, December 19th for consultation with counsel and for a hearing before

the Honorable Judge Robert H. Cleland.



                                        S/Robert H. Cleland
                                       HONORABLE ROBERT H. CLELAND
                                       United States District Judge
Entered: December 10, 2014
